       Case 4:16-cv-00041-BMM Document 21 Filed 08/24/16 Page 1 of 3



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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

RANCHERS-CATTLEMEN                  Case No. CV-16-41-GJ-BMM-JTJ
ACTION LEGAL FUND, UNITED
STOCKGROWERS OF AMERICA,                   OPPOSITION TO
            Plaintiff,                DEFENDANTS’ MOTION TO
v.                                       DISMISS OR, IN THE
                                       ALTERNATIVE STAY THE
TOM VILSACK, IN HIS OFFICIAL                    CASE
CAPACITY AS SECRETARY OF                          &
AGRICULTURE, AND THE                 PLAINTIFF’S CROSS-MOTION
UNITED STATES DEPARTMENT              FOR SUMMARY JUDGMENT
OF AGRICULTURE,                       OR, IN THE ALTERNATIVE,
                                        FOR A PRELIMINARY
                 Defendants.                 INJUNCTION

                                    1
          Case 4:16-cv-00041-BMM Document 21 Filed 08/24/16 Page 2 of 3



      Plaintiff, the Ranchers-Cattlemen Action Legal Fund, United Stockgrowers

of America, pursuant to Federal Rules of Civil Procedure 56 and 65, as well as this

Court’s inherent equitable powers, hereby moves for summary judgment and the

entry of a declaratory judgment and injunctive relief. In the alternative, pursuant to

Federal Rule of Civil Procedure 65 and this Court’s inherent equitable powers,

Plaintiff moves for a preliminary injunction. The grounds for this motion are set

forth in the accompanying statement of undisputed facts, related exhibits, and

memorandum, which also serves as Plaintiff’s Opposition to Defendants’ Motion

to Dismiss, or, in the Alternative, Stay the Case, Dkt. No. 19.

      Pursuant to Local Rule 7.1(c)(1), the undersigned conferred with counsel for

Defendants regarding this motion, and she indicated that Defendants oppose the

motion.



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      Case 4:16-cv-00041-BMM Document 21 Filed 08/24/16 Page 3 of 3



RESPECTFULLY SUBMITTED this 24th day of August, 2016.

                           ROSSBACH LAW, PC


                           By:      /s/ William A. Rossbach____
                                 William A. Rossbach

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